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N THE UNITED STATES DISTRICT COURT
F()R THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

DAVID VAUGHN AND
STEPHANIE HAWKINS-
VAUGHN,

CIVIL ACTION NO. 4:15-cv-0()874
Plaintiffs,
,]URY DEMAND

VS.

GEGVERA SPECIALTY
INSURANCE COMPANY,

W'JCO?OOQDOQOMQOQQOQWQWOCOQOOOQOQ

Defendant.

PROPOSED AGREED ORDER OF DISMISSAL WITH PRE,|UDICE

The Court, after having considered Plaintiffs David Vaughn and Stephanie
Hawkins-Vaughn and Defendant GeoVera Specialty Insurance Company’s
Proposed Joint Stipulation of Dismissal With Prejudice, is of the opinion that it
should be granted

IT IS THEREFORE ORDERED that Plaintiffs’ claims against Defendant
GeoVera Specialty Insurance Company are hereby dismissed with prejudice.

IT IS FURTHER ORDERED that the parties shall bear their own costs.

 

iT is so oRDEREo.
signed this 7- 9 day Of ,2015.
JUDGE PREsIDING

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AGREED AS TO F()RM AND CONTENT:

/S/ Charles Bryan Beverlv
Charles Bryan Beverly

State Bar No. 24082688

Tyler Bleau

State Bar No. 24080793

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*Signed With permission

And

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